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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

DAVID VANN,

Plaintiff, DECISION AND ORDER
Vs. 18-CV-6464-EAW-MJP

CITY OF ROCHESTER, et al.,

Defendants.

Pedersen, M.J. Presently before the Court is plaintiff David Vann’s
(“Plaintiff”) motion to compel and motion for discovery sanctions. (ECF No. 45.)
The undersigned held a lengthy conference with counsel for both parties on April
6, 2021, during which the issues raised in Plaintiffs motion to compel were
addressed. The Court ordered the parties to confer and draft a proposed order
memorializing the Court’s orders and agreements reached between the parties
regarding the motion to compel issues during the conference. The only issue
remaining for the undersigned to decide is Plaintiffs motion for sanctions.

FACTUAL BACKGROUND

On June 18, 2020, Plaintiff made a motion to compel responses to his First
Set of Requests for Production of Documents, First Set of Interrogatories to the
Defendant City, and First Set of Interrogatories to the Officer Defendants, which

were filed on April 16, 2020. (Shields Decl. at 6, dated Jun. 18, 2020, ECF No. 41-
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1.1) In the declaration submitted in support of the motion, Plaintiffs counsel
referred to the numerous times he contacted Defendants’ counsel to which defense
counsel either failed to respond or represented that Defendants would provide
responses, which did not occur. (Shields Decl. at 6-8.)

In granting the unopposed motion to compel, the undersigned ordered
Defendants to respond to Plaintiffs discovery demands within fourteen days of the
order. (Text Order granting motion to compel, Jul. 21, 2020, ECF No. 43.) On
August 4, 2020, Defendants provided responses to Plaintiffs First Set of
Interrogatories to the Defendant City and First Set of Interrogatories to the Officer
Defendants in accordance with the undersigned’s July 21, 2020 text order. (Shield’s
Second Decl. at 32, dated Dec. 7, 2020, ECF No. 45-2.) In addition, Defendants
requested additional time to respond to Plaintiffs First Set of Requests for
Production of Documents, to which Plaintiff agreed to give Defendants one week
to respond to the requests and 21 days to provide documents. Ud. at 3.) Defendants
provided responses to First Set of Requests for Production of Documents on
September 4, 2020. Id.)

On October 8, 2020, Plaintiff served his First Set of Requests for Admission,
to which Defendants have not yet responded. (Id. at 4.) On November 19, 2020,

Plaintiffs counsel wrote to defense counsel requesting responses to Plaintiffs First

1 References to page numbers are made to page numbers automatically assigned when the
document was electronically filed on CM/ECF , which can be found in the upper righthand corner
of each page.

2 See footnote 1.

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Set of Requests for Admission and to remedy deficiencies in Defendants’ responses
to Plaintiffs First Set of Requests for Production of Documents, First Set of
Interrogatories to the Defendant City, and First Set of Interrogatories to the
Officer Defendants, to which Plaintiffs counsel received no response. (/d.) This
prompted Plaintiff to file the instant motion.
ANALYSIS

“Rule 37 of the Federal Rules of Civil Procedure authorizes the imposition
of a variety of different sanctions on a party who fails to comply with his or her
discovery obligations.” Richard v. Dignean, No. 11-CV-6013W, 2017 WL 3083916,
at *3 (W.D.N.Y. Jul. 20, 2017); see Lujan v. Cabana Mgmt., Inc., 284 F.R.D. 50, 68
(E.D.N.Y. 2012) (‘A party found to have violated its Rule 26 obligations is subject
to sanctions under Rule 37.”). “Whether exercising its inherent power, or acting
pursuant to Rule 37, a district court has wide discretion in sanctioning a party for
discovery abuses.” Reilly v. Natwest Mkts. Grp. Inc., 181 F.3d 253, 267 (2d Cir.
1999), cert. denied 528 U.S. 1119 (2d Cir. 2000); see Design Strategy, Inc. v. Davis,
469 F.3d 284, 294 (2d Cir. 2006) (“A district court has wide discretion to impose
sanctions, including severe sanctions, under Federal Rule of Civil Procedure

Odrwa Js

In imposing Rule 37 sanctions, ... courts properly consider various
factors, including “(1) the willfulness of the non-compliant party or
the reason for noncompliance; (2) the efficacy of lesser sanctions; (3)
the duration of the period of noncompliance[;] and (4) whether the
non-compliant party had been warned of the consequences of
noncompliance.”

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Funk v. Belneftekhim, 861 F.3d 354, 366 (2d Cir. 2017) (quoting S. New England
Tel. Co. v. Global NAPs Inc., 624 F.3d 123, 144 (2d Cir. 2010)).

“Disciplinary sanctions for failure to comply with Rule 37 are intended to
serve three purposes.” Arnold v. Krause, Inc., 233 F.R.D. 126, 129-30 (W.D.N.Y.
2005).

First, they ensure that a party will not benefit from its own failure to

comply. Second, they are specific deterrents and seek to obtain

compliance with the particular order issued. Third, they are intended

to serve a general deterrent effect on the case at hand and on other

litigation, provided that the party against whom they are imposed was

in some sense at fault.

Further, “if parties are allowed to flout their obligations, choosing to wait to
make a response until a trial court has lost patience with them, the effect will be
to embroil trial judges in day-to-day supervision of discovery, a result directly
contrary to the overall scheme of the federal discovery rules.” Cine Forty-Second
St. Theatre Corp. v. Allied Artists Pictures Corp., 602 F.2d 1062, 1068 (2d Cir. 1979)
(quotation omitted).

The Court is troubled by Defendants’ unresponsiveness to Plaintiffs
repeated correspondence, as well as Defendants’ failure to follow through on
providing promised discovery. While the undersigned finds that sanctions are not
warranted as Defendants did comply with the July 21, 2020 order to provide
responses to Plaintiffs discovery demands, though those responses have been
deemed insufficient by Plaintiff, the undersigned cautions Defendants that further

conduct of the nature described above may result in sanctions. Finally, Plaintiff is

directed to the undersigned’s preferences regarding initially advising the Court of

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discovery disputes via letter so that the undersigned can attempt to resolve any

issues informally prior to the parties’ incurring expenses of formal motion practice.
CONCLUSION

For the reasons discussed above, Plaintiffs motion for sanctions (ECF No.

45) is DENIED.
IT IS SO ORDERED.

DATED: April 42, 2021
Rochester, New York i i ( )

MARK W. PEDERSEN

United States Magistrate J udge

